                 Case 2:19-cv-00722-MJP Document 90 Filed 09/14/20 Page 1 of 2




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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10          KENNETH I DEANE,                                  CASE NO. C19-722 MJP

11                                  Plaintiff,                ORDER ON MOTION TO QUASH

12                   v.

13          PACIFIC FINANCIAL GROUP INC,

14                                  Defendant.

15

16          The above-entitled Court, having received and reviewed:

17          1.    Movant Jeffrey Provence’s Motion to Quash (Dkt. No. 83),

18          2. Defendants’ Opposition to Movant Jeffrey Provence’s Motion to Quash (Dkt. No.

19                84),

20          3. Plaintiff’s Response to Defendants’ Opposition to Movant Jeffrey Provence’s Motion

21                to Quash (Dkt. No. 88),

22   all attached declarations and exhibits, and relevant portions of the record, and rules as follows:

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     ORDER ON MOTION TO QUASH - 1
               Case 2:19-cv-00722-MJP Document 90 Filed 09/14/20 Page 2 of 2




 1          IT IS ORDERED THAT Movant’s Motion to Quash is DENIED.

 2          IT IS FURTHER ORDERED THAT Movant will comply with Defendants’ Subpoena

 3   within fourteen (14) days of this order.

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 5          The clerk is ordered to provide copies of this order to Movant and to all counsel.

 6          Dated September 14, 2020.

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                                           A
                                           Marsha J. Pechman
                                           United States Senior District Judge
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     ORDER ON MOTION TO QUASH - 2
